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                     Case: 1:17-md-02804-DAP Doc #: 4518-1 Filed: 06/14/22 2 of 2. PageID #: 586889



          ^ƵďĚŝǀŝƐŝŽŶ              ^ƚĂƚĞ              ^ŝŐŶĞĚtŝƚŚWĞƌŵŝƐƐŝŽŶ                 EĂŵĞŽĨƚ>ĞĂƐƚKŶĞ>Ăǁ&ŝƌŵŽĨZĞĐŽƌĚ           :ƵƌŝƐĚŝĐƚŝŽŶ     ŽĐŬĞƚEƵŵďĞƌ

ŽƵŶƚǇŽĨ^ĂŶDĂƚĞŽ                      ͬƐͬŽƚĐŚĞƚƚ͕WŝƚƌĞΘDĐĂƌƚŚǇ>>W           ŽƚĐŚĞƚƚ͕WŝƚƌĞΘDĐĂƌƚŚǇ>>W                           EK,         ϭ͗ϭϴͲŽƉͲϰϲϯϭϵͲW
                                           ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
ŝƚǇŽĨ&ŽƌƚtĂǇŶĞ                  /E     ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                           EK,         ϭ͗ϭϴͲŽƉͲϰϱϭϮϯͲW
                                           ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
ŝƚǇŽĨDƵŶĐŝĞ                     /E     ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                           EK,         ϭ͗ϭϴͲŽƉͲϰϱϭϮϲͲW
                                           ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
,ĂƌƌŝƐŽŶŽƵŶƚǇ                     /E     ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                           EK,         ϭ͗ϭϴͲŽƉͲϰϱϭϯϬͲW
                                           ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕   >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
dŽǁŶŽĨƚůĂŶƚĂ                     /E     ƵĐŚĂŶĂŶ͕KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘     KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                           EK,         ϭ͗ϭϴͲŽƉͲϰϱϭϮϱͲW
ŶĚƌĞĂWƵƌǀŝƐ͕ŝĐŬŝŶƐŽŶ
ŽƵŶƚǇƚƚŽƌŶĞǇ                     <^     ͬƐͬ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W    ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W                    EK,         ϭ͗ϭϵͲŽƉͲϰϱϯϳϵͲW
ĂǀŝĚůĂĐŬ͕^ƚĂŶƚŽŶŽƵŶƚǇ
ƚƚŽƌŶĞǇ                            <^     ͬƐͬ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W    ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W                    EK,         ϭ͗ϭϵͲŽƉͲϰϱϯϴϴͲW
ƌŝĐtŝƚĐŚĞƌ͕DŽƌƚŽŶŽƵŶƚǇ
ƚƚŽƌŶĞǇ                            <^     ͬƐͬ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W    ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W                    EK,         ϭ͗ϭϵͲŽƉͲϰϱϯϵϯͲW

:ĞŶŶŝĨĞƌDĂŐĂŶĂ͕ŝƚǇƚƚŽƌŶĞǇ      <^     ͬƐͬ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W    ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W                    EK,         ϭ͗ϭϵͲŽƉͲϰϱϳϴϭͲW
:ĞƌƌǇ,ĂƚŚĂǁĂǇ͕ůůĞŶŽƵŶƚǇ
ƚƚŽƌŶĞǇ                            <^     ͬƐͬ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W    ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W                    EK,         ϭ͗ϮϬͲŽƉͲϰϱϭϱϭͲW
:ĞƐƐŝĐĂŬĞƌƐ͕'ƌĂŶƚŽƵŶƚǇ
ƚƚŽƌŶĞǇ                            <^     ͬƐͬ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W    ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W                    EK,         ϭ͗ϭϵͲŽƉͲϰϱϯϵϰͲW

:ŽĞ>ĞĞ͕ůŬŽƵŶƚǇƚƚŽƌŶĞǇ        <^     ͬƐͬ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W    ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W                    EK,         ϭ͗ϭϵͲŽƉͲϰϱϯϴϮͲW
:ŽĞ>ĞĞ͕'ƌĞĞŶǁŽŽĚŽƵŶƚǇ
ƚƚŽƌŶĞǇ                            <^     ͬƐͬ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W    ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W                    EK,         ϭ͗ϭϵͲŽƉͲϰϱϯϴϰͲW
>ĂƵƌĂ>ĞǁŝƐ͕DĞĂĚĞŽƵŶƚǇ
ƚƚŽƌŶĞǇ                            <^     ͬƐͬ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W    ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W                    EK,         ϭ͗ϭϵͲŽƉͲϰϱϯϵϬͲW
ZƵƐƐĞůů,ĂƐĞŶďĂŶŬ͕^ĞǁĂƌĚ
ŽƵŶƚǇƚƚŽƌŶĞǇ                     <^     ͬƐͬ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W    ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W                    EK,         ϭ͗ϭϵͲŽƉͲϰϱϯϵϭͲW
dŚŽŵĂƐƵƌŐĂƌĚƚ͕&ŝŶŶĞǇ
ŽƵŶƚǇŽƵŶƐĞůŽƌ                    <^     ͬƐͬ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W    ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W                    EK,         ϭ͗ϭϵͲŽƉͲϰϱϯϴϳͲW
dŝŵ>ŝĞƐŵĂŶŶ͕tĂďĂƵŶƐĞĞ
ŽƵŶƚǇƚƚŽƌŶĞǇ                     <^     ͬƐͬ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W    ^ŬŝŬŽƐ͕ƌĂǁĨŽƌĚ͕^ŬŝŬŽƐΘ:ŽƐĞƉŚ>>W                    EK,         ϭ͗ϭϵͲŽƉͲϰϱϯϳϳͲW
KƌůĞĂŶƐWĂƌŝƐŚ,ŽƐƉŝƚĂů^ĞƌǀŝĐĞ
ŝƐƚƌŝĐƚͲŝƐƚƌŝĐƚ               >     ͬƐͬĞƌŶĂƌĚ>͘ŚĂƌďŽŶŶĞƚ͕:ƌ                ĞƌŶĂƌĚ>͘ŚĂƌďŽŶŶĞƚ͕:ƌ                                EK,         ϭ͗ϭϴͲKWͲϰϲϮϭϮͲW

ůĂƌŬŽƵŶƚǇ                       Es     ͬƐͬŐůĞƚĚĂŵƐ                              ŐůĞƚĚĂŵƐ                                              EK,         ϭ͗ϭϵͲŽƉͲϰϲϭϲϴͲW

dŚĞŝƚǇŽĨůůŝĂŶĐĞ                K,     ͬƐͬDŽƚůĞǇZŝĐĞ>>                          DŽƚůĞǇZŝĐĞ>>                                          EK,         ϭ͗ϭϴͲKWͲϰϲϯϰϬͲW

dŚĞŝƚǇŽĨĂŶƚŽŶ                  K,     ͬƐͬDŽƚůĞǇZŝĐĞ>>                          DŽƚůĞǇZŝĐĞ>>                                          EK,         ϭ͗ϭϴͲKWͲϰϲϯϰϬͲW

dŚĞŝƚǇŽĨDĂƐƐŝůůŽŶ               K,     ͬƐͬDŽƚůĞǇZŝĐĞ>>                          DŽƚůĞǇZŝĐĞ>>                                          EK,         ϭ͗ϭϴͲKWͲϰϲϯϰϬͲW
